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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    LABMD, INC.,                                      )
                                                      )
                          Plaintiff,                  )
                                                      )     Civil Action No. 2:15-cv-92
    v.                                                )
                                                      )     Judge Mark R. Hornak
    TIVERSA HOLDING CORP. formerly                    )
    known as TIVERSA, INC.; ROBERT J.                 )
    BOBACK; M. ERIC JOHNSON; DOES 1-                  )
    10                                                )
                                                      )
                          Defendants.                 )

                                          MEMORANDUM OPINION

Mark R. Hornak, United States District Judge

         On January 8, 2016 this Court issued a Memorandum Order, ECF No. 115, that largely

adopted Chief Magistrate Judge Kelly’s Report and Recommendation (“R&R”), ECF No. 70,

and dismissed LabMD’s Complaint in its entirety. Specifically, as to the Tiversa Defendants,

Counts I, VII, and VIII were dismissed as time barred and Counts II, III, IV, V, and VI were

dismissed on substantive grounds; as to Defendant Johnson, Counts I, II, III, VII, and VIII were

dismissed as time barred and Count VI was dismissed on substantive grounds.1

         LabMD has now filed a Motion for Reconsideration, ECF No. 117, which the parties

have exhaustively briefed, ECF Nos. 118, 122, 123, 124. That Motion chiefly argues that: (1) the

application of the Pennsylvania Savings Statute, 42 Pa. Cons. Stat. § 5535, to the RICO claims

was reversible error; (2) under Jewelcor, Inc. v. Karfunkel, 517 F.3d 672 (3d Cir. 2008), the




1
 Counts I, VII, and VIII were dismissed with prejudice as to all Defendants and Counts II and III were dismissed
with prejudice as to Defendant Johnson only. All other counts were dismissed without prejudice and leave to amend
was granted. An Amended Complaint has now been filed. ECF No. 126.
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Pennsylvania Savings Statute does not apply to any claims here; (3) equitable tolling2 applies

because LabMD mistakenly initiated this suit in the wrong forum; and (4) the discovery rule

and/or equitable tolling preclude dismissal of claims against Defendant Johnson on timeliness

grounds.

         Upon review of the papers and relevant legal and decisional authorities, the Court

concludes that application of the Pennsylvania Savings Statute was in error. That conclusion,

however, does not change the ultimate outcome of the Court’s previous ruling. For the reasons

stated below, LabMD’s Motion for Reconsideration will be denied.

    I. STANDARD OF REVIEW

         Motions for reconsideration are appropriate only “to correct manifest errors of law or fact

or to present newly discovered evidence.” Harsco Corp. v. Zlotnicki, 779 F.2d 906, 909 (3d Cir.

1985). Such a motion will “only be granted if the moving party demonstrates (1) an intervening

change in the controlling law; (2) the existence of new evidence that was unavailable when the

court issued its order; or (3) the need to correct a clear error of law or fact to prevent a manifest

injustice.” Peerless Ins. Co. v. Pa. Cyber Charter Sch., 19 F. Supp. 3d 635, 651 (W.D. Pa. 2014).

“The moving party bears a heavy burden to demonstrate that an order should be reconsidered,”

and rearguing or re-litigating old matters or expressing disagreement with the earlier ruling are

inappropriate bases for such a motion. Wonderland Nurserygoods Co. v. Thorley Indus., LLC,

No. 12-196, 2014 WL 2608117, at *1 (W.D. Pa. June 11, 2014).


2
  While equitable tolling may not be “generally amenable to resolution on a Rule 12(b)(6) motion,” Cunningham et
al. v. M&T Bank Corp. et al., No. 15-1412, slip op. at 2 (3d Cir. Feb. 19, 2016) (citing In re Cmty. Bank of N. Va.,
622 F.3d 275, 301–02 (3d Cir. 2010)), this issue is not so fact-bound as to preclude consideration here. Equitable
tolling in this case primarily turns on set dates—when statements were published, when a suit was filed, when that
suit was terminated, etc.—so it is really just a matter of navigating a calendar and doing simple math. Based on the
uncontradicted evidence that LabMD itself has put into the record, dealing with equitable tolling at this juncture
makes good sense. That this is a motion for reconsideration, with a different judicial calculus than a regular motion
to dismiss also weighs in favor of deciding the issue now, rather than punting until after some discovery that will not
in any event change that calendar and the court docket information.

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   II. DISCUSSION

       Count I: Conversion

       Count I was dismissed as time-barred as to all Defendants. ECF No. 115, at 1. This Court

adopted the R&R’s analysis and conclusion as to this Count in full. The R&R invoked the

Pennsylvania Savings Statute, 42 Pa. Cons. Stat. § 5535(a)(1), and determined that it gave

LabMD one year from the termination of the Georgia action to file this suit in this Court. ECF

No. 70, at 6. Because it concluded that the Georgia action ended on February 5, 2013 and this

action was not filed until January 21, 2015, the R&R concluded that the Savings Statute did not

save this action.

       Upon further review, the Court now concludes that its application of the Savings Statute

was in error. The Third Circuit in Jewelcor, Inc. v. Karfunkel, 517 F.3d 672 (3d Cir. 2008) held

that the Savings Statute does not apply unless the “civil action is commenced in and terminated

by a Pennsylvania state court,” id. at 675. While the Circuit’s holding was somewhat

anticipatory, see id. at 676 n.4, it is binding on this Court. Thus, the Court concludes the

Pennsylvania Savings Statute has no application here.

       LabMD urges that this conclusion compels a reversal of the Court’s dismissal. ECF No.

118, at 5, 10. LabMD says that without the Savings Statute, it had until October 6, 2015 to file

this case. Id. at 10. The Court does not agree.

       First, LabMD’s argument rests on a tortured understanding of the Savings Statute. The

purpose of that statute is to give parties more time to file, irrespective of the statute of

limitations. See 42 Pa. Cons. Stat. § 5535(a)(1). LabMD so recognized in its earlier briefs. ECF

No. 63, at 16 (applying the Savings Statute here “would toll the statute of limitations not only

during the pendency of the Georgia Action, but for a year after its termination.”). Simply put,



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LabMD had all along been urging this Court to apply the Savings Statute it now says the Court

must ignore. But contrary to LabMD’s current argument, that would in no way shorten the

statute of limitations.

         Nevertheless, the Court’s consideration of Jewelcor compels it to disregard the Savings

Statute. According to LabMD, this means that the time it spent mistakenly litigating in Georgia

(by its count, 719 days) is equitably tolled and its current conversion claims are timely. ECF No.

118, at 10. But that argument fails to account for the pronouncement of Pennsylvania state law

the Third Circuit cited in Jewelcor: “an action in one state does not toll the running of the statute

in another state.” Jewelcor, 517 F.3d at 675 (citing Royal-Globe Ins. Co. v. Hauck Mfg. Co., 335

A.2d 460, 462 (Pa. Super. Ct. 1975). As the Jewelcor Court noted, Pennsylvania law provides

the rule of decision on this point, and this is the state of the law in situations where the Savings

Statute does not apply, like this one. So no tolling, equitable or otherwise is appropriate under

Pennsylvania law.3

         So then, the Court must determine anew when the statute of limitations on the conversion

claim ran. The Court concludes that the conversion claim was established by September 30, 2010

letter (which specifically mentioned conversion of the “1718 file”) so the statute of limitations

began to run then. Three hundred eighty-four (384) days elapsed from when the elements of

LabMD’s conversion claim accrued until the filing of the Georgia action.4 The R&R as adopted

noted that the Georgia action terminated on February 5, 2013 when the Eleventh Circuit affirmed

the district court’s dismissal. ECF No. 70, at 6. LabMD now argues that the Georgia action


3
  Equitable tolling is just that—equitable. The Court finds no basis in the record to exercise is discretion to
essentially give an equitable break to a party who waited nearly two years after its first action was over to file here.
4
  The R&R as adopted by this Court stated that the elements of the conversion claim were established “at the latest,
by the filing of the Georgia action in October 2011.” ECF No. 70, at 5–6. That statement was not, and is not, an
explicit finding of when the statute of limitations began to run. Rather, LabMD received the benefit of the doubt as
to the latest possible date that a conversion claim could be said to have been established.

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actually terminated when the period for filing a petition for a writ of certiorari ran: October 6,

2013. ECF No. 118, at 3. But Jewelcor’s forecast of Pennsylvania law leads the Court to

conclude that the Georgia action did not toll the two year statute of limitations, so LabMD had

until September 30, 2012 to file its claim here. That it did not do.

       Further, even if the Georgia action did toll the statute of limitations, and accepting

LabMD’s new and improved termination date of October 6, 2013 as the one, true, correct date

(which the Court does here only to dispose of LabMD’s argument), the conversion claim is still

time barred. LabMD would have had 730 days total (two years) to file the claim. Three hundred

and eighty-four of those days ticked by before it filed the Georgia action. Therefore, after

October 6, 2013 it would have had 346 more days to file in this Court (or until roughly

September 17, 2014). It did not file this action until January 21, 2015. The claim is time barred.

       Finally, we can’t forget that consideration of the Savings Statute in the R&R came at

LabMD’s urging. See ECF No. 63, at 15–16. So to the extent it wishes to now have a do-over,

LabMD has waived any argument premised on the application (or more precisely, the non-

application) of the Savings Statute. Motions for reconsideration are not to be “used to present

new legal theories or arguments which could have been made in support of the first motion.”

Payne v. Deluca, No. 02-1927, 2006 WL 3590014, at *2 (W.D. Pa. Dec. 11, 2006) (Hardiman,

J.).

       The Motion for Reconsideration will be denied as to Count I.

       Count II: Defamation

       Count II was dismissed on substantive grounds as to the Tiversa Defendants and

dismissed as time barred as to Defendant Johnson. ECF No. 115, at 1–2. Because the Motion for




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Reconsideration raises only statute of limitations issues, the dismissal of this Count as to the

Tiversa Defendants will not be disturbed.

        As to Defendant Johnson, LabMD argues that “[t]he Court’s ruling fails to account for

the discovery rule or any equitable estoppel or equitable tolling of the statute of limitations.”5

ECF No. 118, at 11. In the absence of any citation to authority, LabMD charges that it would be

reversible error to “altogether reject [those] equitable doctrines.” Id.

        As an initial matter, the Court dismissed this claim as to Defendant Johnson with

prejudice because it determined that the allegedly defamatory statements occurred in April 2009

and on February 23, 2010. ECF No. 115, at 1–2. The statute of limitations for defamation under

Pennsylvania law is one year. 42 Pa. Cons. Stat. § 5523. Therefore, the absolute latest the

defamation claim could be filed was February 23, 2011.6 The Georgia action was filed in

October 2011. Therefore, the claims were time barred then and there, and no amount of equitable

anything saves them.

        The Motion for Reconsideration will be denied as to Count II against Defendant Johnson.

        Count III: Tortious Interference with Business Relations

        Count III was dismissed on substantive grounds as to the Tiversa Defendants and

dismissed as time barred as to Defendant Johnson. ECF No. 115, at 2. Because the Motion for

Reconsideration raises only statute of limitations issues, the dismissal of this Count as to the

Tiversa Defendants will not be disturbed.




5
 This argument reflects the smorgasbord approach to pleading and argument that pervades a number of LabMD’s
papers.
6
 This conclusion also renders the discovery rule inapplicable because that rule has to do when the limitations period
begins to run, rather than events that can stop the clock once it starts running. See Cunningham, No. 15-1412, slip
op. at 11.

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         As with Count II, LabMD argues that at least one of the discovery rule or equitable

estoppel or equitable tolling applies to Count III. But also like Count II, the statute of limitations

on tortious interference claims that are based on alleged defamatory statements is one year under

Pennsylvania law. Evans v. Phila. Newspapers, Inc., 601 A.2d 330, 334–35 (Pa. Super. Ct.

1991). The tortious interference claims against Defendant Johnson are unquestionably based on

his alleged defamatory statements that occurred, as discussed above, in April 2009 and February

2010. Thus, this count too was time barred when the Georgia action was filed and it remains time

barred here.7

         The Motion for Reconsideration will be denied as to Count III against Defendant

Johnson.

         Count IV: Fraud

         Count IV was dismissed based on substantive deficiencies and leave to amend was

granted. ECF No. 115, at 2–3. The Motion for Reconsideration does not raise any argument that

the substantive dismissal was in error so the Motion for Reconsideration will be denied as to this

Count.

         Count V: Negligent Misrepresentation

         Count V was dismissed based on substantive deficiencies and leave to amend was

granted. ECF No. 115, at 3. The Motion for Reconsideration does not raise any argument that the

substantive dismissal was in error so the Motion for Reconsideration will be denied as to this

Count.



7
  Moreover, it is plain that the discovery rule does not apply where the defamation was not done in a manner meant
to conceal the subject matter of the defamation. Barrett v. Catacombs Press, 64 F. Supp. 2d 440, 446 (E.D. Pa.
1999). Johnson’s statements were published in Computerworld magazine and an academic article. Despite there
being deep recesses of the academy into which the most fervently interested person dares not wander, such
publications cannot by any measure be said to conceal the subject matter of the defamation.

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         Count VI: Civil Conspiracy

         Count VI was dismissed based on substantive deficiencies and leave to amend was

granted. ECF No. 115, at 3. The Motion for Reconsideration does not raise any argument that the

substantive dismissal was in error so the Motion for Reconsideration will be denied as to this

Count.

         Counts VII and VIII: RICO

         Counts VII and VIII were dismissed as time barred as to all Defendants. ECF No. 115, at

3. Notwithstanding its prior positions, LabMD argues now that the Pennsylvania Savings Statute

does not apply, and as discussed above, the Court agrees.

         LabMD, however, mischaracterizes what Chief Magistrate Judge Kelly concluded and

what this Court adopted. In fact, the federal four year statute of limitations was the foundation of

the holding. ECF No. 70, at 17 (“The statute of limitations for a civil RICO claim is four years.”)

(citing Rotella v. Wood, 528 U.S. 549, 552 (2000)); ECF No. 115, at 3 (“the Report and

Recommendation is adopted in full”). So even without the Savings Statute adding an additional

year of time to file, the federal four year statute of limitations would have expired sometime in

2014 (four years after the claim accrued in 2010). This action was not filed until January 2015,

so it is time barred.

         But LabMD’s arguments are not really about federal statutes of limitations preempting

state law or the application of the Savings Statute at all. Instead they rely, as they must, on

tolling during the pendency of the Georgia action. See ECF No. 118, at 7. Following a long

exegesis of the salutary purposes of equitable tolling, LabMD eventually gets to the rub: “the

Court should not treat any of the applicable statutes of limitations as if they were strict statutes of

repose with no consideration of the facts or equitable principles.” Id. at 8. This argument has the



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rare qualities of both hitting the nail on the head but completely missing the board with the same

swing of the hammer.

       First, the federal four year RICO statute of limitations is surely subject to equitable

tolling because it is, after all, a statute of limitations. See CTS Corp. v. Waldburger, 134 S. Ct.

2175 (2014). But equitable tolling is an equitable remedy—filing in the wrong forum does not

guarantee a party tolling as a matter of right. As the Third Circuit recently reaffirmed, equitable

tolling “can rescue a claim otherwise barred as untimely by a statute of limitations when a

plaintiff has been prevented from filing in a timely manner due to sufficiently inequitable

circumstances.” Cunningham et al. v. M&T Bank Corp. et al., No. 15-1412, slip op. at 7 (3d Cir.

Feb. 19, 2016) (citing Santos ex rel. Beato v. United States, 559 F.3d 189, 197 (3d Cir. 2009)).

However, it is “an extraordinary remedy which should be extended only sparingly,” id. (citing

Hedges v. United States, 404 F.3d 744, 751 (3d Cir. 2005)).

       Further, the purposes of statutes of limitations—requiring “diligent prosecution of known

claims” and “preventing surprises through [plaintiffs’] revival of claims that have been allowed

to slumber”—strongly counsel against equitable tolling here. See Waldburger, 134 S. Ct. at

2183. Indeed, equitable tolling requires LabMD to demonstrate reasonable diligence in pursuit of

their claims, meaning that they “must establish that [they] pursued the cause of [their] injury with

those qualities of attention, knowledge, intelligence and judgment which society requires of its

members for the protection of their own interests and the interests of others.” Cunningham, No.

15-1412, slip op. at 8 (internal alterations and quotation marks omitted). It took LabMD nearly

two years after the Georgia action was done, done, done to file this one. LabMD has offered no

compelling reason for the delay and such delinquency is certainly not “reasonably diligent

prosecution.” Moreover, the RICO claims were not even asserted in the Georgia action, so



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despite the years of antagonistic, belligerent litigation between these parties, equitable tolling is

inappropriate because statutes of limitations are also meant “to protect defendants from claims of

which they have not received notice within a reasonable time after they accrued.” See Advanced

Power Sys., Inc. v. Hi-Tech Sys., Inc., 801 F. Supp. 1450, 1456 n.6 (E.D. Pa. 1992). Simply put,

a prior lawsuit that did not even include these claims would not act to “equitably toll” the long

period of delay in their assertion here.

           The bottom line is that even giving LabMD’s position a generous benefit of the doubt, the

Court should not equitably toll these statutes of limitations. LabMD’s Motion is most accurately

characterized as an attempted second (or third) bite at the apple after its arguments were not

accepted before. But it is plain that there was no intervening change in the law, no fundamental

misunderstanding of the law or the facts, and no new evidence that changes, or should change,

the result of the involved dismissal Order.

           It would appear to the Court that by this Motion for Reconsideration, LabMD decided to

switch its position on the Savings Statute, and then essentially rehash slightly repackaged

arguments as to everything else. Not only is that wholly inconsistent with the high and exacting

standard for reconsideration, it also runs counter to the obligations of the Court and the parties

under Rule 1 of the Federal Rules of Civil Procedure. In short, this has gone on long enough.8




8
    Jones v. United States, 135 S. Ct. 8, 9 (2014) (Scalia, J., dissenting from denial of certiorari).

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      III. CONCLUSION

        LabMD’s Motion for Reconsideration is DENIED.



                                         s/ Mark R. Hornak
                                         Mark R. Hornak
                                         United States District Judge



Dated: February 22, 2016

cc:     All counsel of record




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